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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                                Criminal No. 03-cr-202-01-JD

Luis Antonio Caraballo


                                 O R D E R

      After the court discussed the difficulties faced by

defendant in representing himself, Mr. Caraballo stated that what

he really needs is different counsel.         Mr. Monteith will have to

be a witness in the plea withdrawal hearing in any event.               For

both these reasons the court believes that Mr. Caraballo should

have different counsel appointed.       Mr. Caraballo’s request to

withdraw his motion to proceed pro se (document no. 43) and his

oral request for new counsel are granted.

      SO ORDERED.

                              ____________________________________
                              James R. Muirhead
                              United States Magistrate Judge

Date: September 21, 2005

cc:    Richard F. Monteith, Jr., Esq.
       Terry L. Ollila, Esq.
       Kenneth P. Glidden, Esq.
